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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


  Civil Action No. 1:22-cv-01129-NYW-SKC

  ERIC COOMER, PH.D.,

         Plaintiff,

  v.

  MICHAEL J. LINDELL, FRANKSPEECH
  LLC, AND MY PILLOW, INC.,

         Defendants.


              DEFENDANTS’ OMNIBUS MOTION FOR SUMMARY JUDGMENT


                                       INTRODUCTION
         Eric Coomer, Ph.D. (“Coomer” or “Plaintiff”) asserts against all Defendants five claims

  for relief under Colorado law: defamation, intentional infliction of emotional distress, civil

  conspiracy, permanent injunction, and exemplary damages. Summary judgment should be granted

  against each of these claims.

         After more than a year of discovery, the record does not evince a genuine dispute of facts

  essential to Coomer’s claims, and Coomer’s entire action against the Defendants is ripe for

  dismissal. Alternately, Defendants seek an order granting partial summary judgment dismissing

  individual Defendants, claims, and alleged defamatory statements unsupported by evidence.

                      STATEMENT OF UNDISPUTED MATERIAL FACTS

         1.      Coomer was the Director of Product Strategy and Security for Dominion Voting

  Systems (“Dominion”). (ECF #170, Second Am. Compl., ¶ 2). He held this position from

  November 2013 through May 2021. (Ex. 1 (Restricted), Pl. Dep., at 21:22–25; 90:2–10).
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          2.     Dominion provided election-related services to at least 30 different states during

  the 2020 presidential election. (ECF #170, ¶ 17).

          3.     Defendant Michael J. Lindell (“Lindell”) is the founder and CEO of Defendants

  My Pillow, Inc. (“MyPillow”) and Frankspeech LLC (“Frankspeech”). (ECF #171, Answer

  Second Am. Compl., ¶ 7).

          4.     Nonparty Joseph Oltmann (“Oltmann”) serves as a host of the Conservative Daily

  podcast with videos posted on Conservative Daily’s website. (ECF #170, ¶ 28).

          5.     Oltmann co-hosted an episode of the Conservative Daily podcast on November 9,

  2020. On that episode, Oltmann stated:

          Let’s not sugar coat this, we’re going to expose someone inside of Dominion Voting
          Systems specifically related to Antifa and related to someone that is so far left and
          is controlling the elections, and his fingerprints are in every state. So, I want you
          guys to understand that what we’re about to show you, you have to share . . . The
          conversation will be about a man named Eric Coomer. C-O-O-M-E-R.

  (Id. ¶ 29).

          6.     Oltmann further stated on the November 9, 2020 podcast episode that he had

  infiltrated an “Antifa” conference call in September 2020, during which a man identified as

  “Eric . . . the Dominion guy” proclaimed: “Don’t worry about the election, Trump is not gonna

  [sic] win. I made f-ing sure of that. Hahahaha.” (Id.).

          7.     At some point in the Fall of 2020, Oltmann identified “Eric . . . the Dominion guy”

  as referring to Coomer and Dominion Voting Systems, Inc. (Id.).

          8.     During the November 9, 2020 podcast, Oltmann indicated to his audience that he

  had gotten a “Facebook post” of Coomer’s and was “going to build an entire dossier of” Coomer’s

  Facebook posts. (Ex. 2, Defamatory Statement Spreadsheet (Bates Prefix EC 22cv01129), at

  000358–59). Oltmann then read and displayed a so-called “rant” Coomer posted on July 21, 2016,

  about Donald Trump, who was at that time a candidate for President:


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  (Conservative Daily, Dominion and How Big Tech Helped Steal the Election, YouTube

  (livestreamed Nov. 9, 2020), https://www.youtube.com/watch?v=9tHeiYgErnw, (citing Ex. 3, Pl.

  Facebook Posts (Pl. Dep. Ex. 8), at 0072), cited in Ex. 2 at 000358–59).

         9.      Throughout the episode, Oltmann displayed and read a number of other charged

  Facebook posts Coomer had made:




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  (Id. (citing Ex. 3 at 0068)).

          10.     The posts Oltmann re-published ultimately included an “Antifa Manifesto,”

  complete with a list of demands:




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  (Id. (citing Ex. 3 at 0009–12)).

         11.     This Facebook post repeatedly refers to former President Trump as a “fascist” and

  states, “Either you are a decent human being with a conscience, or you are a fascist.” (Ex. 3 at

  0009). The post also states, “[P]eople like you are easily manipulated in your banal, self-serving

  ignorance . . . .” (Id. at 0010). It demands that the president “resign now and take your VP and

  cabinet with you.” (Id. at 0011). The post further states, “You, sir, and yours, are the terrorists, and

  your victims are done putting up with it.” (Id. at 0012).

         12.     Coomer did, in fact, make the Facebook posts attributed to him by Oltmann. (Ex. 1

  at 133:20–134:15).

         13.     Shortly after Oltmann’s November 9, 2020 podcast, Coomer sent an email in which

  he admitted that his Facebook posts were a “glaring lapse of judgment,” that he should have

  recognized that his posts “would reflect on our company [Dominion] as a whole,” and that, in light

  of the Facebook posts, “it is likely best for everyone if I resign my position at Dominion.”



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  (Ex. 4 (Restricted), Dominion Doc. Produc. (Dominion Rule 30(b)(6) Dep. Ex. 146), at

  DOMINION000027 (emphasis added); see also id. at DOMINION000033, 37; Ex. 5, Dominion

  Rule 30(b)(6) Dep. 55:17–19).

         14.     Throughout November 2020, Oltmann gave numerous interviews, including a

  livestreamed November 13, 2020 interview with Michelle Malkin, in which Oltmann repeated his

  allegations that Coomer had participated in an Antifa conference call, that Coomer claimed to have

  rigged the election, and that Coomer did in fact rig the election. Oltmann claimed that “the treason

  is punishable by death” and encouraged Coomer to turn himself in to the Department of Justice.

  (ECF #170, ¶ 33).

         15.     During that same time period, Oltmann gave additional interviews to James Hoft

  of The Gateway Pundit, Chanel Rion of One America News Network (OANN), nationally

  syndicated radio host Eric Metaxas, and on Michelle Malkin’s Newsmax program “Sovereign

  Nation.” Oltmann also appeared regularly as a guest on various Denver-based talk radio shows,

  including Colorado Republican National Committeeman Randy Corporon’s radio program Wake

  Up! with Randy Corporon on 710 KNUS. (Id.).

         16.     On November 17, 2020, Eric Trump posted a link via Twitter to an article on The

  Gateway Pundit’s website titled “Eric Coomer - Dominions Vice President of U.S. Engineering –

  ‘Don't worry about the election, Trump's not gonna win. I made f*cking sure of that!’” (Ex. 2 at

  000366). This post garnered over 10,000 retweets and over 23,000 “likes.”




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  (Eric      Trump       (@EricTrump),      Twitter,     (Nov.     17,      2020,   1:49   PM),

  https://twitter.com/EricTrump/status/1328802449889562626, cited in Ex. 2 at 000366, and Ex. 6,

  First Am. Compl., Coomer v. Donald J. Trump for President, Inc., No. 2020cv034319 (Colo. Dist.

  Ct. Feb. 4, 2021), Filing ID 5D2B3A08F794E, ¶ 63).

           17.    Rudy Giuliani and Sidney Powell specifically named Coomer during a November

  19, 2020 press conference, where they repeated Oltmann’s claims about Coomer. (ECF #170,

  ¶ 34).

           18.    On December 5, 2020, Oltmann posted a photo of Coomer’s house on social media,

  which was accompanied by text reading, “Blow this s*** up. Share, put his name everywhere. No

  rest for this s***bag. Eric Coomer, Eric Coomer, Eric Coomer. This s***bag and the corrupt

  a**hats in Dominion Voting Systems must not steal our election and our country! Eric we are

  watching you . . . .” (Id. ¶ 35).

           19.    Oltmann has thousands of social media followers. (Id.).



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            20.    Oltmann suggested on the December 14, 2020 episode of the Conservative Daily

  podcast that he may have had people surveilling Coomer. (Id.).

            21.    Claiming to fear for his safety after Oltmann made his identity public, Coomer hid

  at a friend’s cabin in late November of 2020 and ultimately fled the country in January 2021;

  Coomer also purchased a gun and installed a security system in his home in December 2020. (Ex.

  1 at 104:9–107:23, 110:10–111:12, 152:8–153:10). He returned to his home in February 2021. (Id.

  at 110:10–111:12, 152:8–153:10).

            22.    Coomer received psychiatric treatment from Jared Finkell, M.D. from December 9,

  2020 through August 31, 2021. (Ex. 7, Finkell Dep., at 20:2–15). Coomer did not mention Lindell,

  MyPillow, or the Cyber Symposium during the course of this treatment. (Id. at 16:2–17:6; 82:14–

  83:16; 206:7–14; 246:7–21).

            23.    Coomer had become a public figure on or before February 4, 2021. (Ex. 1 at 218:1–

  219:4).

            24.    On February 5, 2021, Coomer had the following exchange via text message with

  his brother:

            [Coomer’s Brother]: I know we’ve discussed this before, but if you are having any
            second thoughts regarding never working in this industry again, let me reiterate that
            you need to be done with this s***.

            [Coomer]: I am done with this s***!

            [Coomer]: No second thoughts whatsoever.

  (Ex. 8, Coomer Text Messages, Feb. 5, 2021 (Pl. Dep. Ex. 17), at EC 22cv01129 001261).

            25.    Oltmann, the Trump Campaign, Michelle Malkin, James Hoft, TGP

  Communications LLC dba The Gateway Pundit, Rudy Guiliani, Sidney Powell, and Eric Metaxas

  are currently defendants in a separate defamation lawsuit filed by Coomer on Dec. 22, 2020,

  Coomer v. Donald J. Trump for President, Inc., pending as Case Number 2020cv034319 in Denver


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  County, Colorado, District Court. (ECF #170, ¶ 24 nn.20 (Giuliani) & 22 (Powell), p.15 n.30

  (Oltmann), ¶ 33 nn.44–46 (Malkin, Hoft, and TGP) & 49 (Metaxas), ¶ 34 n.53 (Trump Campaign).

  See generally Ex. 6).

         26.      Chanel Rion and Herring Networks Inc. dba One America News Network

  (“OANN”) were also defendants in Coomer v. Donald J. Trump for President. (ECF #170, ¶ 33

  nn.47–48). They reached a settlement with Coomer for undisclosed terms, as indicated by a

  stipulation for dismissal filed in that action on August 30, 2023. (Ex. 9, Stip. Dismissal OANN &

  Rion, Coomer v. Donald J. Trump for President, Inc., No. 2020cv034319 (Colo. Dist. Ct. Aug.

  30, 2023), Filing ID 7EE1BDF514578).

         27.      Randy Corporon and Salem Media of Colorado, Inc., which owns 710 KNUS, are

  currently defendants in a separate defamation lawsuit filed by Coomer on Nov. 13, 2021, Coomer

  v. Salem Media of Colorado Inc., pending as Case Number 2021cv033632 in Denver County,

  Colorado, District Court. (ECF #170, ¶ 33 nn.51–52).

         28.      Nonparty Newsmax, Inc. (“Newsmax”) is a television and internet news

  organization supported by advertising and subscription revenue. (Ex. 10, Ruddy Dep., at 9:12–

  10:3). Newsmax’s television content is currently available in over 100 million homes through

  cable, satellite, and digital streaming platforms. (Id. at 10:4–15).

         29.      Newsmax aired several broadcasts mentioning Coomer specifically throughout

  November and December of 2020, including:

              A November 17, 2020 episode of “American Agenda” that identified Coomer
               in relation to allegations of voter fraud with election equipment for Dominion
               and Smartmatic, a competitor of Dominion (Ex. 6, ¶ 62);

              A November 20, 2020 interview between Newsmax host Howie Carr and
               Sidney Powell where Powell claimed Coomer made a “confession” of fixing
               the 2020 presidential election (Id.; see also Ex. 2 at 000368);




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               A November 28, 2020 interview between Newsmax host Michelle Malkin and
                Oltmann in which Oltmann stated Coomer was “affiliated with or a part of the
                Antifa movement” and had “the ability to put his finger on the scale and has, I
                believe, put his finger on the scale of the election across our country” (Ex. 2 at
                000372–74); and

               A December 5, 2020 interview between Newsmax host Greg Kelly and author
                Ken Timmerman in which Timmerman asked “Where is Eric Coomer? Where
                is Eric Coomer, the Dominion guy who is behind all of this?” (Ex. 6, ¶ 62).

          30.      During this time period, specifically as of November 24, 2020, Newsmax broadcast

   its content to roughly one million viewers per minute. (Ex. 10 at 19:15–21:22).

          31.      Coomer reached a settlement agreement with Newsmax, which was announced via

   an on-air statement on Newsmax on May 7, 2023. (ECF #170, ¶ 33 n.50, ¶ 62). The statement

   included an apology to Coomer. (Id. ¶ 62).

          32.      Defendant Lindell advertised MyPillow products on Newsmax for approximately

   ten years prior to May 2021, frequently appearing personally on Newsmax to talk about

   MyPillow’s products and employees. (Ex. 11, MyPillow Rule 30(b)(6) Dep., at 19:12–19). In these

   appearances, Lindell often offered viewers a discount on MyPillow purchases if they provided the

   promotional code “NEWSMAX” at the time of purchase. (Ex. 12 (Restricted), Lindell Dep., at

   22:1–15; 112:4–10). Following Coomer’s settlement with Newsmax, Lindell could no longer

   make these live personal appearances on Newsmax. (Ex. 11 at 18:15–19:11). In the ensuing four-

   month period (May–August 2021), MyPillow sales associated with the “NEWSMAX” promo code

   decreased by 90%. (Id. at 19:20–20:10; Ex. 12 at 15:21–17:23).

          33.      Shortly after learning about Coomer’s settlement with Newsmax, Lindell spoke

   with Newsmax’s Chief Executive Officer, Christopher Ruddy. (Ex. 10 at 45:5–13; Ex. 11 at 18:11–

   19:11). Lindell then learned that he “couldn’t come on Newsmax anymore to talk about My Pillows

   or anything because of Eric – a deal [Ruddy] made with Eric Coomer and lawyers for Eric

   Coomer.” (Ex. 13, Frankspeech Dep. at 138:11–17; see also Ex. 11 at 19:2–4 (“From that point I


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   was not allowed, I talked to Ruddy, I was not allowed to go on Newsmax anymore to talk about

   MyPillow and it hurt my business.”)).

          34.     In an interview broadcast on Frankspeech on May 9, 2021, Lindell said:

          Yeah, Eric Coomer, if I’m you right now, I am, instead of going over and making
          deals at Newsmax, if I’m you, I’m turning myself in and turning in the whole
          operation so maybe, just maybe, that you get immunity and you only get to do, I
          don’t know, ten, twenty years. I mean, you are disgusting, and you are treasonous.
          You are a traitor to the United States of America. And you know what? I can say
          that, just like I can about Brian Kemp and Brad Raffensberger. These are things that
          I have evidence of. The evidence is there. You know, it’s sitting there. Well Mike,
          [“]Why don’t you turn it all in to the Supreme Court and bring it to the FBI?[”] Oh,
          it’s getting to the Supreme Court, everybody.

   (ECF #170, ¶ 63).

          35.     Lindell has not accused Coomer of personally “rigging” the election (Ex. 1 at

   32:24–33:8; Ex. 11 at 223:11–23, 280:10–18).

          36.     Oltmann sat for an interview with nonparty Brannon Howse, which was broadcast

   live on the Frankspeech website on May 3, 2021. (ECF #170, ¶ 54). During the interview, Oltmann

   stated that he participated in an “Antifa” conference call where Coomer stated “‘Don’t worry about

   the election, Trump’s not going to win. I made f-ing sure of it.’” (Id. at ¶¶ 54–57).

          37.     Lindell hosted and funded a “Cyber Symposium” event held in Sioux Falls, South

   Dakota between August 10–12, 2021. (ECF #171, ¶ 72; Ex. 11 at 269:7–23).

          38.     The purpose of the Cyber Symposium was to publicize data from the 2020

   presidential election showing election interference originating from China. (Ex. 13 at 222:15–20;

   Ex. 12 at 299:17–23, 313:25–314:15).

          39.     Oltmann and David Clements were among the presenters who made statements

   onstage at the Cyber Symposium. (ECF #170, ¶¶ 84–91). Oltmann and Clements specifically

   referred to Coomer at various points during their remarks onstage. (Id.)




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          40.        Defendants did not have prior knowledge of what Oltmann would say during the

   May 3, 2021 Frankspeech interview, nor did Defendants have prior knowledge of what Oltmann

   or Clements would say at the Cyber Symposium. In fact, Lindell had no prior knowledge that

   Oltmann and Clements would present on stage at the Cyber Symposium at all. (Ex. 14, Oltmann

   Dep., at 50:20–54:4; 68:16–20; 131:18–22; Ex. 12 at 307:17–308:12; Ex. 15, Howse Dep., at

   120:18–121:22).

          41.        Lindell was in Colorado to speak at a rally on April 5, 2022, and he was served with

   the original complaint in this action just before he was to speak at the rally. (ECF #170, ¶¶ 101–

   02).

          42.        While decrying the “lawfare” tactic of suppressing speech through the judicial

   process, Lindell said, “It started with Eric Coomer and Dominion based right here in Colorado. By

   the way, he just sued me as I walked up on the stage. Just sued me, I just got papers. Thanks, Eric!

   Now Eric will be the first one behind bars when we melt down the machines.” (Id. ¶ 102; see Ex.

   12 at 102:5–104:16, 147:24–148:8 (Lindell testifying that the “it” that “started with Eric Coomer

   and Dominion” was “lawfare”; “Law fair [sic] suing people for -- for free speech” as a means to

   silence them)).

          43.        The following day, Lindell again addressed Coomer:

          So everybody, if you want to know just how corrupt, the corruption we’re up
          against. Eric Coomer served, had served papers to me before I was going onstage
          at the Capitol. I’ve never talked about Eric Coomer. He’s the, apparently he’s
          the president of Dominion, the criminal crime family here in Denver. I guess
          he’s the guy that ran into a building the other day and took off and ran or whatever.
          Who knows what he did there, but anyway, he served papers, everybody. He has
          sued, everybody ready for this? Mike Lindell, Frank Speech, and My Pillow.

          Eric Coomer, you are a criminal. Eric Coomer, your lawyers better look out. I’m
          not putting up with this. My Pillow doesn’t even know who you are. My
          employees, I have 2,700 employees. Shame on you Eric Coomer. You did a very,
          very stupid move, Mr. Coomer. You’re going to be the first one, right behind
          Rafsenberger [sic] and Jena Griswold behind bars. You’re #1 on my list. You


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           go after my employees, go after my company again, you’re disgusting. You belong
           behind bars. I hear you ran into a building drunk the other day or whatever
           you were. You know, whatever you did, “allegedly” [using sarcastic tone] I’ll say
           that so the lawyers don’t, so I don’t “allegedly” accuse you of something you
           haven’t done, but I will accuse you of this. You’ve been a part of the biggest crime
           this world has ever seen. Eric Coomer, president of Dominion, you have even
           said what you did or what you were going to do. You’re disgusting. You’re
           disgusting, you’re evil, you belong behind bars, and we will not stop until you
           are behind bars. We’re going to melt down your little machines and you’re going
           to hang on to your little prison bars. “Let me out, let me out!” Should have thought
           about that, Eric Coomer, before you did crimes against the United States and
           quite frankly all of humanity. It’s disgusting what you’ve done. You and
           Dominion. And Jena Griswold.

   (ECF #170, ¶ 103).

           44.    Coomer alleges the bolded statements above are “falsehoods” and “defamatory.”

   (Id. ¶ 104).

           45.    On May 23, 2022, Lindell again accused Coomer and Dominion of being “corrupt”

   and that he would be “behind bars” when “we melt down the machines.” (Id. ¶ 116).

           46.    Lindell was deposed as the corporate representative of Defendants MyPillow and

   Frankspeech on March 8, and 9, 2023. (See generally Exs. 11, 13). Lindell stated that he called

   Coomer a “criminal and traitor [because of] what he did to MyPillow when he went after

   Newsmax.” (Ex. 13 at 53:1–15).

           47.    Lindell was asked at his March 8, 2023 deposition as the MyPillow corporate

   representative “You think [Coomer]’s a criminal, don’t you?” (Ex. 11 at 183:9). Lindell explained

   “I think what he did to me is criminal. What he did to my company when he did that deal with

   Chris Ruddy I think is criminal, yes. I think he's a traitor and criminal by what he did to My Pillow,

   that's what I think. There's your answer.” (Id. at 183:14–18).

           48.    Lindell was asked at that same deposition “Do you not think that Eric Coomer

   rigged the election?” He responded:




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          I said, Eric Coomer didn’t, I didn't say that, I didn’t say that. I said Dominion, they
          used Dominion machines and all machines. I'm not specific just to Dominion,
          ES&S, Hart, all of them, we've got to get rid of the computers in our election. I
          never said anything about Eric Coomer. I called him a traitor [for] what he did My
          Pillow and Newsmax.”

   (Id. at 280:10–18).

          49.     Lindell was asked again whether he believed as of his March 9, 2023 deposition

   that “Eric Coomer is a criminal.” He responded:

          No. What he did to me was criminal, and I’ve said that a million times.

          What he did to me and My Pillow, and you guys, it’s criminal that you sued us. It’s
          criminal that you went and made a dirty deal with Newsmax, and I can’t go on
          [Newsmax].

   (Ex. 13 at 108:6–14).

          50.     Lindell reiterated this belief throughout his testimony over March 8 and 9, 2023.

   (See, e.g., Ex. 11 at 19:3–10 (“I was not allowed to go on Newsmax anymore to talk about My

   Pillow and it hurt my business. And then, and I said Eric Coomer is a traitor what he did, and that’s

   when I made that comment and I stand by that. What he did to My Pillow that day and whatever

   he made a dirty deal with Chris Ruddy, I'm not allowed to go on Newsmax like I was always on

   to go and talk about my products . . . .”), 185:25–186:3 (“What he did to me I consider it criminal.

   I don’t care what he’s done in his past nor do I know what he’s done in his past.”); Ex. 13 at 186:1–

   3 (“I called him treasonous because what he did to my employees at My Pillow.”), 138:3–17 (“I

   know nothing about Eric Coomer. I know nothing about what Joe Oltmann said or what those two

   did together . . . . I have said one paragraph [within the Complaint], and that was because Chris

   Ruddy told me I couldn’t come on Newsmax anymore to talk about My Pillows or anything

   because of Eric -- a deal he made with Eric Coomer and lawyers for Eric Coomer. And that was

   it.”); see also id. at 194:11–195:18, 281:23–282:4, 304:17–305:18).




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          51.     Lindell’s beliefs regarding Coomer’s settlement with Newsmax are distinct from

   his beliefs regarding interference in the 2020 election. As he explained at his MyPillow deposition:

          This isn’t about a Democrat or a Republican, this is about the evidence that China
          intruded in our election. Did your guy do it, I don’t know and I don’t care, but I
          know what he did to me, I know what he did to me at Newsmax. And that’s [why]
          I went after him with one paragraph calling him a traitor, and I did, and a criminal,
          because what he did My Pillow was criminal. He didn’t have to do that to My Pillow
          and attack my company and my employees so they lose all the money. It’s
          disgusting.

          Q. Is that why he's a traitor too, what he did to your company?

          A. Mm-hmm, absolutely. . . .

   (Ex. 11 at 223:11–23).

          52.     Lindell affirmed this stance publicly on March 10, 2023, when stated on

   Frankspeech:

          [W]hat Eric Coomer and his lawyers did, putting this lawsuit, or making a deal with
          Chris Ruddy, and then part of the deal is you don’t let Mike Lindell come on, think
          about that! Think about my employees. Think how mad I was. I’m going, you’re
          going to hurt my employees like that?

          ....

          I stand by my words! I called him a criminal! I called his lawyers a criminal! And
          you know what? I stand by that, because what they did to MyPillow is criminal.
          What they did to me is criminal. What they did to Frankspeech. It is criminal!

   (ECF #170, ¶¶ 128–29).

          53.     Lindell sincerely believes what he has said about Coomer and Dominion. (Id. ¶ 105;

   Ex. 1 at 60:3–14 (“Q: Do you have any facts that Mr. Lindell doesn’t believe what he has said

   about Dominion or about you? A: Not that I can -- not that I can recall.”)).




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                                        LEGAL STANDARD

          Under Rule 56 of the Federal Rules of Civil Procedure, a party seeking summary judgment

   has the burden of establishing through admissible evidence the absence of a genuine issue of

   material fact and that it is entitled to judgment as a matter of law. See Fed. R. Civ. P. 56.

          This Court has already determined that Lindell’s statements about Coomer regarded

   matters of public concern such that the “actual malice” standard from New York Times v. Sullivan

   governs. (ECF #119, Order Den. Defs.’ Mot. Dismiss Am. Compl., at 10). Accordingly, Coomer

   must prove by “clear and convincing” evidence that Lindell spoke with “actual malice” when

   making defamatory statements about Coomer. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255–

   56 (1986); Diversified Mgmt., Inc. v. Denver Post, 653 P.2d 1103, 1108–10 (Colo. 1982) (en banc)

   (holding that, in a defamation action “involving a private figure in a matter of public or general

   concern,” the plaintiff must, “with convincing clarity,” prove the defendant’s “reckless disregard”

   for the truth as defined in St. Amant v. Thompson, 390 U.S. 727 (1968)). The decisive question is

   “whether the evidence in the record could support a reasonable jury finding either that the plaintiff

   has shown actual malice by clear and convincing evidence or that the plaintiff has not.” Anderson,

   477 U.S. at 255–56. “Clear and convincing evidence is stronger than a mere ‘preponderance’; it is

   evidence that is highly probable and free from serious or substantial doubt.” Destination Maternity

   v. Burren, 463 P.3d 268, 271 (Colo. 2020) (internal quotation omitted); see Spacecon Specialty

   Contractors, LLC v. Bensinger, 782 F. Supp. 2d 1194, 1201–05 (D. Colo. 2011) (granting

   summary judgment for want of clear and convincing evidence that filmmaker-defendant either

   “knew that any statements in the film were false, or that [he] pre-screened the film with a high

   degree of awareness that any of the statements in the film were false”); Creekside Endodontics,

   LLC v. Sullivan, 527 P.3d 424, 431–32 (Colo. Ct. App. 2022) (reversing denial of motion to

   dismiss where there was “no evidence that [defendant] doubted the opinions of th[ose] on whom


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   she relied yet published the statements anyway”). “[B]ecause the threat of protracted litigation

   could have a chilling effect on the constitutionally protected right of free speech, prompt resolution

   of defamation actions, by summary judgment or motion to dismiss, is appropriate.” Nguyen v. Mai

   Vu, No. 18-cv-01132-CMA-NRN, 2018 WL 5622634, at *10 (D. Colo. Oct. 30, 2018) (quoting

   Brokers’ Choice of Am., Inc. v. NBC Universal, Inc., 138 F. Supp. 3d 1191, 1199 (D. Colo.

   2015), aff’d, 861 F.3d 1081 (10th Cir. 2017)).

          The Court previously denied Defendants’ motion to dismiss Coomer’s claims, but this

   denial does not preclude summary judgment, for Rule 12 dismissal and Rule 56 summary judgment

   turn on different considerations. See, e.g., Springer v. Albin, 398 F. App’x 427, 431 (10th Cir.

   2010) (citation omitted) (“[A Rule 12 motion] focuse[s] on the allegations in the complaint,

   whereas the court’s analysis of [a] motion for summary judgment look[s] to the evidence presented

   in the light most favorable to [the non-moving party].”); Gibson v. Brown, No. 16-cv-2239-MSK-

   STV, 2020 WL 1815911, at *6–7 (D. Colo. Apr. 9, 2020) (“Although a determination of a Motion

   to Dismiss affects what claims are considered at the summary judgment stage, specific findings

   that a claim is plausible has no effect on the determination of a Motion for Summary Judgment.”).

          After forcing Defendants to engage in over a year of costly discovery, Coomer has not

   produced, and cannot produce at trial, sufficient evidence to support his claims. Summary

   judgment against those claims is now necessary.

                                             ARGUMENT
   I. COOMER’S DEFAMATION CLAIM AGAINST ALL DEFENDANTS SHOULD BE
      DISMISSED

          Under the First Amendment and Colorado law, a plaintiff alleging a statement involving a

   matter of public was defamatory must prove that the statement was: “(1) Defamatory, (2)

   Materially false, (3) Concerned the plaintiff, (4) Published to a third party, (5) Published with



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   actual malice, and (6) Caused actual or special damages.” Brokers’ Choice of Am., Inc. v. NBC

   Universal, Inc., 861 F.3d 1081, 1109 (10th Cir. 2017) (citations omitted). Coomer cannot make

   these requisite showings.

          A.      The Complained-Of Statements Are Not Actionable

           “When evaluating a defamation claim, a court must examine each published statement

   individually” to determine whether it is actionable. Portercare Adventist Health Sys. v. Brown, No.

   2018CV31868, 2019 Colo. Dist. LEXIS 1340, at *7–8 (Colo. Dist. Ct. May 15, 2019) (citing

   Keohane v. Stewart, 882 P.2d 1293, 1299–1300 (Colo. 1994)); see also Arrieta v. Bennett, No.

   1:17-cv-00986-PJK-KBM, 2019 WL 2905721, at *9 (D.N.M. July 5, 2019) (“Rule 56 allows

   summary judgment not only for entire claims, but also for parts of claims. The purpose of summary

   judgment is to narrow the issues for trial, and primarily the factual issues for trial.”). Coomer

   cannot meet his burden for each statement he identifies in the Second Amended Complaint, largely

   because he has blurred the line between what he claims is defamatory and what is simply “false.”

          The Second Amended Complaint identifies “numerous falsehoods and defamatory

   statements, including, but not limited to:

          a.      Dr. Coomer is “corrupt”;

          b.      Lindell is “up against” “corruption”;

          c.      Lindell has never talked about Dr. Coomer;

          d.      Dr. Coomer is the “president of Dominion”;

          e.      Dominion is a “criminal crime family”;

          f.      Dr. Coomer is “a criminal”;

          g.      MyPillow does not know who Dr. Coomer is;

          h.      Dr. Coomer did a “very, very stupid move”;

          i.      Dr. Coomer will be “behind bars”;



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          j.      Georgia Secretary of State Brad Raffensperger will be “behind bars”;

          k.      Colorado Secretary of State Jena Griswold will be “behind bars”;

          l.      Dr. Coomer is “disgusting”;

          m.      Dr. Coomer “belong[s] behind bars”;

          n.      Dr. Coomer “ran into a building drunk the other day”;

          o.      Dr. Coomer has “been a part of the biggest crime this world has ever seen”;

          p.      Dr. Coomer “even said what [he] did or [he was] going to do”;

          q.      Dr. Coomer is “evil”;

          r.      Dr. Coomer “did crimes against the United States”; and

          s.      Dr. Coomer “did crimes against . . . quite frankly all of humanity”.

   (ECF #170, ¶ 104) (emphasis added). Whether Coomer is actually claiming these statements are

   “defamatory” or are mere “falsehoods” is unclear, but none of them are actionable as a matter of

   law.

                  i.      “Disgusting,” “Evil,” and “Stupid Move” Are Constitutionally
                          Protected Statements of Opinion

          Subjective statements and statements of opinion are protected by the First Amendment as

   long as they do not present or imply the existence of defamatory facts which are capable of being

   proven true or false. Milkovich v. Lorain Journal Co., 497 U.S. 1, 18–19 (1990). Statements that

   Coomer is “disgusting” and “evil,” or that he made a “stupid move,” (ECF #170, ¶ 104 h., l., q.),

   are clearly constitutionally protected statements of opinion. Although there is no “wholesale

   defamation exemption” for everything that could be labeled an “opinion,” Milkovich, 497 U.S. at

   18, the statement, to be actionable, must be “sufficiently factual to be susceptible of being proved

   true or false,” see Keohane v. Stewart, 882 P.2d 1293, 1299 (Colo. 1994) (en banc) (quoting

   Milkovich, 497 U.S. at 20). “[A] statement of opinion relating to matters of public concern which

   does not contain a provably false factual connotation” receives full constitutional protection. Id.


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   (quoting Milkovich, 497 U.S. at 20). Similarly, “rhetorical hyperbole, a vigorous epithet, and loose,

   figurative language” are protected speech because they “cannot reasonably be interpreted as stating

   actual facts.” Brokers’ Choice of Am., Inc. v. NBC Universal, Inc., 861 F.3d 1081, 1136 (quotation

   omitted). “Disgusting” and “evil,” and that Coomer made a “stupid move,” are protected

   statements of opinion and thus exempt from tort liability; summary judgment should be granted

   against Coomer’s claims based on the usage of these terms.

                   ii.     “Treasonous,” “Traitor,” and “Criminal” Are Hyperbole, Not
                           Defamatory Statements of Fact

           Lindell stated Coomer is “treasonous” and “a traitor to the United States of America.” (ECF

   #170, ¶ 63). He further stated that Coomer “is a criminal” and “did crimes against the United States

   and quite frankly all of humanity.” (Id. ¶ 103). Defendants freely acknowledge that, in most cases,

   these specific statements (“treasonous,” “traitor,” “criminal,” and “did crimes”) would survive

   summary judgment. “A statement is deemed to be defamatory per se, if, without reference to

   extrinsic evidence and viewed in its plain and obvious meaning, the statement imputes to plaintiff:

   the commission of some criminal offense involving moral turpitude; . . . [or] some falsity which

   prejudices plaintiff in his or her profession or trade . . . .” Newberry v. Allied Stores, Inc., 773 P.2d

   1231, 1236 (1989) (citation omitted). This is not one of those cases.

           Instead, this is a case akin to Old Dominion Branch No. 496 v. Austin, 418 U.S. 264 (1974)

   and Greenbelt Cooperative Publishing Association v. Bresler, 398 U.S. 6 (1970). In Austin, a

   postal workers union published a list of nonunion workers in its monthly newsletter. 418 U.S. at

   267. The union published the list under a “List of Scabs” heading accompanied by “a well-known

   piece of trade union literature, generally attributed to author Jack London, which purported to

   supply a definition” of the word “scab.” Id. at 267–68. This definition read:

           After God had finished the rattlesnake, the toad, and the vampire, He had some
           awful substance left with which He made a scab.


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          A scab is a two-legged animal with a corkscrew soul, a water brain, a combination
          backbone of jelly and glue. Where others have hearts, he carries a tumor of rotten
          principles.

          When a scab comes down the street, men turn their backs and Angels weep in
          Heaven, and the Devil shuts the gates of hell to keep him out.

          No man (or woman) has a right to scab so long as there is a pool of water to drown
          his carcass in, or a rope long enough to hang his body with. Judas was a gentleman
          compared with a scab. For betraying his Master, he had character enough to hang
          himself. A scab has not.

          Esau sold his birthright for a mess of pottage. Judas sold his Savior for thirty pieces
          of silver. Benedict Arnold sold his country for a promise of a commission in the
          British Army. The scab sells his birthright, country, his wife, his children and his
          fellowmen for an unfulfilled promise from his employer.

          Esau was a traitor to himself; Judas was a traitor to his God; Benedict Arnold was
          a traitor to his country; a SCAB is a traitor to his God, his country, his family and
          his class.

   Id. at 268. Three nonunion workers identified on the List of Scabs sued the union. Id. at 266–67.

          The Austin Court found in favor of the union and reversed the defamation verdict against

   it. Id. at 287. In so doing, the Court specifically noted that “use of words like ‘traitor’ cannot be

   construed as representations of fact. . . . ‘[T]o use loose language or undefined slogans that are part

   of the conventional give-and-take in our economic and political controversies—like “unfair” or

   “fascist”—is not to falsify facts.’” Id. at 284 (quoting Cafeteria Emps. Local 302 v. Angelos, 320

   U.S. 293, 295 (1943)).

          The Court also observed that the Austin plaintiffs’ claim mirrored one rejected in

   Greenbelt, where the Court held that the defendants’ use of the word “blackmail” in characterizing

   the plaintiff-public figure’s actions “could not be the basis of a libel judgment” even though

   “[defendants] knew that [plaintiff] had committed no such criminal offense.” Id. at 284. The

   Greenbelt Court determined it was “simply impossible to believe that a reader who reached the

   word ‘blackmail’” would have believed that defendants were charging plaintiff with committing a



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   criminal offense, as opposed to using “rhetorical hyperbole, a vigorous epithet used by those who

   considered [plaintiff]’s negotiation position extremely unreasonable.” Id. at 285 (quoting

   Greenbelt, 398 U.S. at 14). Applying that same rationale, the Austin Court deemed it:

          similarly impossible to believe that any reader [of the “List of Scabs”] would have
          understood the newsletter to be charging [plaintiffs] with committing the criminal
          offense of treason. As in [Greenbelt], Jack London’s “definition of a scab” is merely
          rhetorical hyperbole, a lusty and imaginative expression of the contempt felt by
          union members towards those who refuse to join.

   Id. at 285–86 (emphasis added).

          The Colorado Supreme Court’s decision in Burns v. McGraw-Hill Broadcasting Co., 659

   P.2d 1351 (Colo. 1983) is similarly instructive. In Burns, the Court set forth the Colorado standard

   for determining whether “rhetorical hyperbole” was opinion or fact, analyzing Austin and

   Greenbelt. The Court ultimately endorsed the Ninth Circuit’s three-factor approach to

   “examin[ing] when speech which might be considered protected opinion is in issue.” Burns, 659

   P.2d at 1360. Burns rejected tests set out by other courts that could have had the effect of

   pronouncing certain words or phrases that are always considered “factual” and others that are

   always “opinion,” id. at 1358, or that could have had the effect of creating an “unconditional

   privilege” for the use of “rhetorical hyperbole . . . in a context where the actual malice standard

   [is] appropriate,” id. at 1364 (Dubofsky, J., dissenting).

          The Burns standard was reified and summarized in Keohane v. Stewart, 882 P.2d 1293,

   1299 (Colo. 1994) as follows:

                  Milkovich and Burns thus provide the necessary framework to determine if
          a statement is protected. This framework involves two inquiries. The first inquiry
          is whether the statement is “sufficiently factual to be susceptible of being proved
          true or false.” Milkovich, 497 U.S. at 20. The second inquiry is whether reasonable
          people would conclude that the assertion is one of fact. Id. The factors relevant to
          the second inquiry are: (1) how the assertion is phrased; (2) the context of the
          entire statement; and (3) the circumstances surrounding the assertion,
          including the medium through which the information is disseminated and the
          audience to whom the statement is directed.


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   (emphasis added) (quoting Milkovich, 497 U.S. at 20) (citing Burns, 659 P.2d at 1360) (stating that

   the Milkovich Court held “that loose, figurative, or hyperbolic language may indicate that the

   statement could not reasonably be interpreted as a statement of fact”).

           In Keohane, the Court concluded from “the broader social context” of one of the

   defendant’s remarks made shortly before an election, context including “the well-publicized

   allegations of corruption against the medical and legal professions in Fremont County,” that the

   statements “could not reasonably be interpreted as stating actual facts about Judge Keohane.” Id.

   at 1302. These remarks, including that a “judge is really in a position to clean up financially” if

   the judge were to approach “an old buddy” suspected of a crime and offer “a way out,” were

   “nothing more than an elaborate hypothetical scenario as a possible explanation of the verdict” in

   one of the judge’s trials. Id.

           The context of Mr. Lindell’s statements would similarly notify the listener that Lindell was

   directing “epithets” and “hyperbole” to Coomer and was not making any assertions of fact. At no

   point did Lindell accuse Plaintiff of personally “rigging” the election (Ex. 1 at 32:24–33:8; Ex. 11

   at 223:11–23, 280:10–19). When Lindell stated that Coomer is “treasonous” and a “traitor to the

   United States of America,” he did so in the same breath as criticizing Coomer for “making deals

   at Newsmax” and while referring to Brian Kemp and Brad Raffensberger in kind. (ECF #170,

   ¶ 63). All of this occurred in the context, like in Keohane, of commentary about an election for

   public office. Lindell’s testimony as the MyPillow and Frankspeech corporate representative

   further confirms the context and intent behind his descriptions of Coomer. (Ex. 11 at 19:3–10,

   183:9–18, 185:25–186:3; Ex. 13 at 186:1–3, 194:11–195:18, 281:23–282:4, 304:17–22).

           Mr. Lindell similarly stated Coomer is a “criminal,” was “part of the biggest crime this

   world has ever seen,” and “did crimes against the United States and quite frankly all of humanity”




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   the day after he was served with the original complaint. (ECF #170 ¶ 103). Both “the context of

   the entire statement” and “the circumstances surrounding the assertion,” including the medium and

   the audience, must be considered in determining whether Lindell made factual accusations with

   respect to Coomer. Keohane, 882 P.2d at 1299. Lindell referred to Coomer as a “criminal” in the

   heated context of his company just having been sued by Coomer, whom Lindell made clear he

   “doesn’t even know.” (ECF #170, ¶ 103). He added that he’d “never talked about” Coomer. (Id.).

   A reasonable listener would understand Lindell was irate with Coomer because he brought this

   action, despite Lindell’s admitted lack of familiarity with Coomer.

          “Even if an expression of opinion may have been skewed by a vindictive motive, if it is

   ‘based on disclosed or assumed nondefamatory facts then it is not itself sufficient for an action of

   defamation, no matter how unjustified or unreasonable the opinion may be or how derogatory it

   is.’” Yeager v. Nat’l Pub. Radio, No. 18-4019-SAC-GEB, 2018 WL 3633894, at *12–13 (D. Kan.

   July 31, 2018) (quoting Piccone vs. Bartels, 785 F.3d 766, 774 (1st Cir. 2015)). Here, Lindell’s

   statements that Coomer is a “criminal,” a “traitor,” and is “treasonous” are based on facts Lindell

   freely disclosed: 1) Coomer settled with Newsmax; and 2) Coomer sued Lindell, Frankspeech, and

   MyPillow. The statements are not sufficient for an action of defamation.

                  iii.    Vague Language Such As “Corrupt” Is Not Actionable

          Coomer alleges that Lindell calling him “corrupt” and stating Coomer “even said what [he]

   did or [he was] going to do” are defamatory statements. (ECF #170, ¶¶ 103–104). They are not, as

   “[v]ague language that is subject to multiple interpretations is generally not actionable.” Yeager,

   2018 WL 3633894, at *11–12 (citing numerous cases).

          From the statement itself, it is not even clear that Lindell is accusing Coomer himself of

   being “corrupt.” He refers to the lawsuit against him as an example of “the corruption we’re up

   against.” (ECF #170, ¶ 103). This is vague, imprecise language that is not defamatory as a matter


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   of law. The same is true for stating Coomer “even said what [he] did or [he was] going to do,” a

   statement that is far “too nonspecific to sustain a defamatory meaning.” See Hogan v. Winder, 762

   F.3d 1096, 1107 (10th Cir. 2014).

                   iv.      Predictions of Future Events (“Will Be Behind Bars”) Are
                            Protected Statements of Opinion

           Beyond the non-actionable statements that Coomer is a “criminal,” Coomer further alleges

   the statement he will be “behind bars” is independently defamatory. (ECF #170, ¶ 104). However,

   it is well-settled defamation law that “[a] mere expression of an opinion in the nature of a prophecy

   as to the happening or non-happening of a future event is not actionable.” Myers v. Alliance for

   Affordable Servs., 371 Fed. Appx. 950, 957 (10th Cir. 2010) (quotation omitted). This statement

   is ripe for dismissal.

                   v.       Statements About Nonparties Such As                      Dominion,
                            Raffensperger, and Griswold Are Not Actionable

           Lindell is accused of stating that “[Georgia Secretary of State] Brad Raffensperger will be

   ‘behind bars’” and “[Colorado Secretary of State] Jena Griswold will be ‘behind bars.’” (ECF

   #170, ¶ 104). Where an allegedly defamatory statement is not about the plaintiff, such a statement

   is appropriate for dismissal. See, e.g., Brokers’ Choice, 861 F.3d at 1109 (stating that the plaintiff

   must prove that the statement concerned plaintiff); Dorr v. C.B. Johnson Inc., 660 P.2d 517, 519

   (Colo. Ct. App. 1983) (affirming dismissal where none of defendants’ statements concerned

   plaintiff). In addition to being non-actionable statements of future events, Myers, 371 Fed. Appx.

   at 957, statements about Raffensperger and Griswold should be dismissed because they do not

   concern Coomer.

           Similarly, Lindell is accused of calling Dominion a “criminal crime family.” (ECF #170

   ¶ 104). Coomer has testified that Lindell only speaks of Dominion in “reference” to Coomer. (Ex.

   1 at 34:7–9 (“Every time that I've seen him mention Dominion, he mentions me. So I think it is


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   one and the same.”)). Coomer is demonstrably mistaken on this point. In fact, Lindell and

   MyPillow are currently engaged in a lawsuit pending in the United States District Court for the

   District of Columbia over a slew of statements Lindell has allegedly made about Dominion.

   Coomer’s name appears nowhere in Dominion’s “heavily footnoted 115-page complaint” against

   Lindell and MyPillow, which Coomer himself references in his own Second Amended Complaint.

   (ECF #170, ¶ 46; see also Ex. 16, Compl., U.S. Dominion Inc. v. My Pillow Inc., No. 1:21-cv-

   00445 (D.D.C. Feb. 22, 2021), ECF #1). Lindell and MyPillow deny any statement identified in

   Dominion’s complaint is defamatory, but certainly do not deny that Mr. Lindell has spoken often

   and critically of Dominion. All the while, Lindell had no knowledge of Coomer personally or what

   role he may have played at the company. (See, e.g., ECF #170, ¶¶ 103, 126; Ex. 11 at 288:22–23

   (“I didn’t know who Eric Coomer was.”).

          Statements that Coomer alleges Defendants made about Dominion and other nonparties

   here are not actionable by Coomer and should be disposed of by summary judgment.

                  vi.     The Substantially True Statements About Coomer Are Not
                          Actionable

          Where a plaintiff is a limited purpose public figure, the plaintiff bears the burden of

   showing the falsity of the statement at issue. Schwartz v. AMA, 23 F. Supp. 2d 1271, 1275 (D.N.M.

   1998). Coomer cannot meet that burden with respect to the complained-of statement that “Eric

   Coomer, you are a criminal.” (ECF #170, ¶ 103). Though this statement is not actionable because

   it is mere hyperbole, as discussed above, it is also substantially true. “A defendant asserting truth

   as a defense in a libel action is not required to justify every word of the alleged defamatory matter;

   it is sufficient if the substance, the gist, the sting of the matter is true.” Gomba v. McLaughlin, 504

   P.2d 337, 339 (Colo. 1972) (citation omitted). The “gist” of Lindell’s statement that Coomer is a

   criminal is that Coomer has committed crimes. Coomer has been forthright about his past legal



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   troubles. (E.g., Ex. 1 at 9:13–16:20, 54:17–55:1; Ex. 17, Susan Dominus, He Was the ‘Perfect

   Villain’ for Voting Conspiracists, N.Y.T. Magazine, (Aug. 24, 2021, 8:22 AM),

   https://www.nytimes.com/2021/08/24/magazine/eric-coomer-dominion-election.html (Pl. Dep.

   Ex. 7), at OAN001897 (By 2004, Coomer “had ended up in prison after being charged with several

   counts of driving under the influence.”)). Lindell’s statement that Coomer is a “criminal” is

   nonetheless true.

           Coomer also alleges that during an April 6, 2022 broadcast on Frankspeech, Lindell,

   referring to Coomer, said “I hear you ran into a building drunk the other day or whatever you were.

   You know, whatever you did, ‘allegedly’ [using sarcastic tone] I’ll say that so the lawyers don’t,

   so I don’t ‘allegedly’ accuse you of something you haven’t done . . . .” (ECF #170, ¶ 103). Whether

   Coomer perceives Lindell’s tone as sarcastic or not, Lindell’s statement is true. Coomer does not

   dispute Lindell did hear that Coomer ran into a building while intoxicated and that this allegation

   about Coomer had widespread public circulation by April 6, 2022. (Ex. 1 at 55:7–56:4). By that

   point, tens of thousands of individuals had seen video of Coomer’s September 21, 2021 arrest,

   which was widely circulated on Internet sources such as the Gateway Pundit,1 YouTube,2 Rumble,3

   and the World Tribune.4




   1
    “BODY CAM FOOTAGE: Dominion Executive Eric Coomer Cuffed and Arrested in Colorado – Video Appears to
   Show He Drove Truck into Bar, Fled the Scene and Lied to Police.” The Gateway Pundit, Mar. 1, 2022;
   https://www.thegatewaypundit.com/2022/03/body-cam-footage-dominion-executive-eric-coomer-cuffed-arrested-
   colorado-video-appears-show-drove-truck-bar-fled-scene-lied-police/.
   2
    “Body Cam Footage of Eric Coomer Being Arrested In Salida Colorado and Lies To Police.” YouTube, Feb. 28,
   2022, https://www.youtube.com/watch?v=9vUUHFCTRjw.
   3
    “Body Cam Footage of Dominion's Eric Coomer ARRESTED.” Rumble, https://rumble.com/vw7gqz-body-cam-
   footage-of-dominions-eric-coomer-arrested.html
   4
    “Who is Eric Coomer, Part II: Bizarre arrest video of Dominion Voting exec in Colorado.” World Tribune, Mar. 1,
   2022; https://www.worldtribune.com/who-is-eric-coomer-part-ii-bizarre-arrest-video-of-dominion-voting-exec-in-
   colorado/


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          Coomer also appears to allege that being misidentified as the “President of Dominion” is

   defamatory. (ECF #170, ¶ 104 at d.). It is not. As previously noted, if the substance, gist, or sting

   of a statement is true, the statement is not defamatory. Gomba, 504 P.2d at 339. Coomer was a

   Vice President at Dominion; though he wasn’t the President, “[m]inor inaccuracies do not amount

   to falsity” in a defamation case. Brokers’ Choice, 861 F.3d at 1107 (quotation omitted). Being

   identified as the president of Dominion rather than the vice president could not have caused

   damage to Coomer. At his deposition, Coomer claimed “being identified as the president of

   Dominion was a problem” because it continued “a false narrative of who and what I was and did

   at Dominion” and suggested that Coomer “somehow was this all-powerful person within

   Dominion that then had some inference that I could control everything that happened there.” (Ex.

   1 at 57:15–58:6). No reasonable juror could agree. The minor misstatement reflects Lindell’s lack

   of familiarity with Coomer other than Commer’s settlement with Newsmax, not the perpetuation

   of a “false narrative” of which Lindell had no knowledge.

          Similarly, Coomer appears to allege that Lindell’s April 6, 2022 remarks that he had “never

   talked about” Coomer and that “MyPillow doesn’t even know who” Coomer is are defamatory

   statements. (ECF #170, ¶¶ 103–04). These statements could not possibly have damaged Coomer,

   and they are substantially true. Lindell was reacting to having been served with a complaint despite

   having only mentioned Coomer’s name on one occasion nearly one year prior. (Id. ¶¶ 63, 102–

   104). Though “never” may have been technically inaccurate, the general thrust of Lindell’s point

   is plain. Also, as a corporation, MyPillow cannot possess knowledge on its own. The substance of

   Lindell’s statement that “MyPillow doesn’t know” Coomer is borne out by Lindell’s limited

   statements about Coomer and the lack of an agency relationship between MyPillow and Lindell




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   when he made those statements. The context of the statements makes it clear that Lindell was

   incensed MyPillow was sued despite having nothing to do with Coomer whatsoever.

          B.      Defendants Did Not Cause Plaintiff’s Alleged Damages

          Coomer cannot show that the Defendants are responsible for his alleged damages. Under

   Colorado law, Coomer must establish actual damages to maintain the action. See McIntyre v.

   Jones, 194 P.3d 519, 524 (Colo. Ct. App. 2008) (citations omitted) (stating that, where the

   allegedly defamatory statement involves a matter of public concern, “a plaintiff . . . must establish

   actual damages to maintain the action, even where the statement is defamatory per se”); Keohane,

   882 P.2d at 1304 (citation omitted) (“A public figure asserting a claim for slander per se must

   establish actual damages.”). Coomer alleges a variety of harms he sustained due to his connection

   with Dominion and potential election hacking, including “harm to his reputation, emotional

   distress, stress, anxiety, lost earnings, and other pecuniary loss.” ECF #170, ¶ 150. He may well

   have sustained some or all of these harms at some point—but Defendants did not cause them.

          Defendants acknowledge at least some evidence suggests that once Oltmann made

   Coomer’s name public, Coomer may have: lost his job in the elections industry again; received

   threats; had to install security; bought a gun and learned how to use it; eventually had to go into

   hiding, even leave the country, for fear of his safety; and had to get therapy. If any of those things

   happened, however, they happened between November 2020 and February 2021.5 (Ex. 1 at 104:9–

   107:23, 113:1–115:13). Though Coomer also seeks to recover against Defendants in this case for

   those same harms, he admits Lindell did not utter Coomer’s name until months later (May 9, 2021).

   (Id. at 54:5–16).



   5
    Although the plaintiff blames the defendants for needing a second round of therapy, he admitted
   to being diagnosed with a mental illness in January 2021 and starting therapy then, and then
   discontinuing it by April 2021. (Ex. 1 at 113:1–115:13).

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          In reality, Coomer offered to resign his employment from Dominion approximately a day-

   and-a-half after Oltmann’s November 9, 2020 podcast. (Ex. 4 at DOMINION000027; see also id.

   at DOMINION000033, -37; Ex. 5 at 55:17–10). The terms of Coomer’s separation from Dominion

   were finalized by April 14, 2021, weeks before the Defendants were accused of publishing any

   statement at issue. (Compare Ex. 1 at 54:5–16, with id. at 90:2–91:8). By that time, Coomer had

   moved on to a new career as a restauranteur and had firmly decided to leave the election industry

   behind. He was “done” with the industry by February 5, 2021, and had “[n]o second thoughts

   whatsoever” about his decision. (Ex. 8 at EC 22cv01129 001261).

          Oltmann sat for numerous interviews prior to the Defendants’ first statement where

   Oltmann made allegations against Coomer, including interviews with Michelle Malkin, James

   Hoft of the Gateway Pundit, Chanel Rion of OANN, and nationally syndicated radio host Eric

   Metaxas. (ECF #170, ¶ 33). At the same time, Oltmann appeared on Randy Corporon’s Denver-

   based radio program Wake Up! with Randy Corporon on 710 KNUS. (Id.). On November 17,

   2020, Eric Trump tweeted link to the Gateway Pundit titled “Eric Coomer - Dominions Vice

   President of U.S. Engineering – ‘Don't worry about the election, Trump's not gonna win. I made

   f*cking sure of that!’” (Eric Trump (@EricTrump), Twitter, (Nov. 17, 2020, 1:49 PM),

   https://twitter.com/EricTrump/status/1328802449889562626, cited in Ex. 2 at 000366, and Ex. 6,

   ¶ 63). The Tweet was greeted with over 10,000 retweets and over 23,000 “likes.” Rudy Giuliani

   and Sidney Powell specifically named Coomer during a November 19, 2020 press conference,

   where they repeated Oltmann’s claims about Coomer. (ECF #170, ¶ 34).

          Oltmann posted a photo of Coomer’s house to Oltmann’s thousands of social media

   followers on December 5, 2020 which was accompanied by text reading, “Blow this s*** up.

   Share, put his name everywhere. No rest for this s***bag. Eric Coomer, Eric Coomer, Eric




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   Coomer. This s***bag and the corrupt a**hats in Dominion Voting Systems must not steal our

   election and our country! Eric we are watching you . . . .” (Id. ¶ 35). Oltmann suggested on the

   December 14, 2020 episode of the Conservative Daily podcast that he had people surveilling

   Coomer. (Id.).

          Of course, Newsmax—to an audience of roughly a million people per minute in November

   2020 (Ex. 10 at 19:15–21:22), aired several broadcasts and mentioning Coomer specifically

   throughout November and December of 2020, including:

                   A November 17, 2020 episode of “American Agenda” that identified
                    Coomer in relation to allegations of voter fraud with election equipment for
                    Dominion and Smartmatic, a competitor of Dominion (Ex. 6, ¶ 62);

                   A November 20, 2020 interview between Newsmax host Howie Carr and
                    Sidney Powell where Powell claimed Coomer made a “confession” of
                    fixing the 2020 presidential election (Id. ¶ 66; Ex. 2 at 000368);

                   A November 28, 2020 interview between Newsmax host Michelle Malkin
                    and Oltmann in which Oltmann stated Coomer was “affiliated with or a part
                    of the Antifa movement” and had “the ability to put his finger on the scale
                    and has, I believe, put is finger on the scale of the election across our
                    country” (Id. at 000373); and

                   A December 5, 2020 interview between Newsmax host Greg Kelly and
                    author Ken Timmerman in which Timmerman asked “Where is Eric
                    Coomer? Where is Eric Coomer, the Dominion guy who is behind all of
                    this?” (Ex. 6, ¶ 62).

          By February 2021, Coomer made good on his message to his brother and left the elections

   industry entirely. He went to school, obtained a certificate, and opened his own restaurant. (Ex. 1,

   6:21–7:6). He had fully switched careers before the Defendants said anything about him. Even

   with Coomer’s self-admittedly poor judgment on social media, it is unclear how—or if—his

   reputation was even harmed. Within months after offering to resign for his statements on

   Facebook, Coomer had received a settlement and public apology from Newsmax, in addition to

   favorable press coverage from outlets such as the New York Times (Ex. 17) and the Associated



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   Press (Ex. 18, Dominion Worker Eric Coomer Sues Trump Campaign and Conservative Media,

   NBC, (Dec. 23, 2020, 7:05 am), https://www.nbcnews.com/politics/2020-election/dominion-

   worker-eric-coomer-sues-trump-campaign-conservative-media-n1252205 (Pl. Dep. Ex. 9)). On

   December 8, 2020, the Denver Post published Coomer’s own opinion piece, entitled “I work for

   Dominion Voting Systems. I did not commit voter fraud. The attacks against me need to stop.”

   (Ex. 19, (Pl. Dep. Ex. 6)). This publication was made despite including Coomer’s own inaccurate

   statement that “any posts on social media channels purporting to be from me have also been

   fabricated.” (Id. at OAN001887; see also Ex. 1 at 133:20–134:15; Ex. 17 at OAN001902).

          To the extent the record shows Coomer could have sustained noneconomic damages, none

   can be traced to Defendants. For instance, Coomer claims to have “undergone substantial therapy

   since the time of the false claims against him, and he has been diagnosed with various mental

   conditions arising from the trauma of this still on-going ordeal.” (Ex. 1 at 113:2–6). Coomer did

   in fact undergo therapy under the care of Jared Finkell, M.D. from December 9, 2020 through

   August 31, 2021. (Ex. 7 at 20:2–15). However, at no point during their sessions is there any

   indication Coomer mentioned Lindell or MyPillow. (Id. at 16:2–17:6; 82:14–83:16; 206:7–14;

   246:7–21). Though Coomer’s final session with Finkell took place after the Cyber Symposium, at

   no point did Coomer ever raise or discuss that event with Finkell. (Id. at 246:7–21). Coomer’s

   conclusory assertion that Defendants in this action caused him mental or emotional harm

   contradicts both the chronology of events and the evidence in the record.

          Coomer responded to perceived threats against him by purchasing a gun and installing a

   security system in his home in December 2020. (Ex. 1 at 105:22–107:15). Claiming to be in fear

   of his safety, Coomer hid at a friend’s cabin in late November of 2020 and ultimately fled the

   country in January 2021; he returned to his home in February 2021, several months before the




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   Defendants are accused of publishing any defamatory statement. (Id. at 110:10–111:12, 152:8–

   153:10).

          Defendants are not responsible for the content of Coomer’s Facebook posts, nor were they

   responsible for publishing them. If it is indeed false that Coomer was on an “Antifa” call or

   somehow meddled in the 2020 election, Defendants neither fabricated nor adopted those claims.

   Nonetheless, Coomer’s cause of action against Defendants stems from the same allegations he has

   made against Oltmann and the other defendants throughout his five pending lawsuits. He has

   already recovered from some of those defendants (Newsmax, OANN, and/or Rion), and now seeks

   to recover from over twenty more. That multi-suit strategy presents a clear risk of inconsistent,

   duplicative, and even multiplicative recoveries to Defendants in this action. For instance, Coomer

   agrees that Oltmann has also claimed to “have proof that the election was compromised, and that,

   again, that I'm a traitor, that I'm treasonous and disgusting and evil”—and that Oltmann made these

   claims before Lindell. (Id. at 119:16–120:3). Coomer’s grievance lies with Oltmann, whom he has

   already sued, and not the Defendants here.

          Coomer has failed to present evidence of an element of his defamation claim. Defendants

   are entitled to summary judgment because they could not have caused his claimed damages.

          C.      MyPillow Cannot Be Liable to Coomer for Defamation

          Coomer’s defamation claim should not proceed against MyPillow for the additional,

   independently sufficient reason that MyPillow never published, authorized, or ratified any

   statements about Coomer. Corporations such as MyPillow can only act through their agents. In re

   Stat-Tech Sec. Litig., 905 F. Supp. 1416, 1422 (D. Colo. 1995). Understanding this, Coomer

   contends that “MyPillow published defamatory statements about Dr. Coomer in Colorado and

   directed such defamatory statement at Colorado audiences via its agent Lindell.” (ECF #170, ¶ 9).




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   Coomer further alleges that “[a]t all relevant times, Lindell was acting as an agent and

   representative of MyPillow.” Id. The record does not support these conclusions.

                  i.      No Speaker Acted as an Agent of MyPillow

          None of the statements at issue was made by a speaker acting as a MyPillow agent.

   “Agency is the fiduciary relationship that arises when one person (a ‘principal’) manifests assent

   to another person (an ‘agent’) that the agent shall act on the principal’s behalf and subject to the

   principal’s control, and the agent manifests assent or otherwise consents so to act.” Restatement

   (Third) of Agency § 1.01 (Am. Law Inst. 2006), cited in Alfaro-Huitron v. Cervantes Agribusiness,

   982 F.3d 1242, 1250–51 (10th Cir. 2020) (noting “there appears to be nothing unique about New

   Mexico law in this area”).

          In this case, MyPillow never gave Oltmann or Clements authority to speak on its behalf.

   No record evidence supports the proposition that MyPillow manifested assent to Oltmann or

   Clements that they should act on MyPillow’s behalf and subject to its control, let alone that

   Oltmann or Clements consented to so act. Accordingly, MyPillow cannot be held liable for any

   allegedly defamatory statements made by Oltmann or Clements.

          The same is true with respect to the statements at issue made by Lindell. MyPillow never

   directed or authorized Lindell to make statements about Coomer, election interference, or any other

   political matter. No record evidence supports Coomer’s assertions to the contrary. Lindell’s

   personal opinions, including his opinions about Coomer, are not those of the company. MyPillow

   does not have the power to prevent Lindell from speaking in his personal capacity, and no evidence

   in the record even remotely suggests that MyPillow manifested assent to Lindell that he should

   make statements about Coomer or election interference subject to MyPillow’s control. Because

   MyPillow lacks control over Lindell’s personal and political opinions and activities, MyPillow

   cannot be held liable for any allegedly defamatory statements made by Lindell.


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                   ii.     MyPillow Ratified No Statement at Issue

           Coomer alleges that MyPillow “ratified and endorsed the statements of Lindell and the

   other Frankspeech hosts who promoted the false claims against Dr. Coomer and are both

   independently and vicariously liable for the conduct described” in the Complaint. (ECF #170,

   ¶ 149). “A person ratifies an act by (a) manifesting assent that the act shall affect the person's legal

   relations, or (b) conduct that justifies a reasonable assumption that the person so consents.”

   Restatement (Third) of Agency § 4.01(2); see also id. cmt. c (“The agency-law doctrine of

   ratification . . . requires manifesting assent or otherwise consenting to a prior act done by another

   person and thereby adopting its legal consequences.”). The focus of ratification is choice and

   consent. The principal must manifest a free choice in order to ratify a prior act. See id. § 4.06 cmt.

   d (“Ratification is the consequence of a choice freely made by the principal.”), cited in Siener v.

   Zeff, 194 P.3d 467, 471–72 (Colo. Ct. App. 2008). To exercise free choice and consent, the

   principal must either know all material facts prior to the action or know facts that would lead a

   reasonable person to investigate further. Siener, 194 P.3d at 472 (citations omitted); see also

   Adams v. Paine, Webber, Jackson & Curtis, Inc., 686 P.2d 797, 801 (Colo. Ct. App. 1983) (“Full

   knowledge is essential before a party is held to have ratified the acts of his agent.”), aff'd, 718 P.2d

   508 (Colo. 1986) (en banc.).

           MyPillow at no point ratified statements about Coomer. Though MyPillow may have

   advertised on podcasts, the Cyber Symposium, and other media that mentioned Coomer, that alone

   is insufficient to establish ratification, which requires a clear choice to consent to a prior act.

   Plaintiff cannot establish the “full knowledge” that is “essential” for ratification based on pre-

   existing agreements to advertise, Adams, 686 P.2d at 801, and an agreement to advertise on a

   podcast or sponsor an event does not reasonably give rise to an inference that the advertiser intends

   to “adopt[ the] legal consequences” of all statements on the podcast or at the event, Restatement


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   (Third) of Agency § 4.01 cmt. c. See also Williams v. Burns, 463 F. Supp. 1278, 1286 (D. Colo.

   1979) (holding that seller corporation’s reliance upon the advice of the attorney it hired to

   investigate transaction “did not support the contention that [seller] knew all of the material facts

   and that it adopted” its counsel’s purported defamatory statements concerning buyer).

   “Furthermore, ratification . . . is not an issue in an action for slander” because liability by

   ratification “arises only where the original act was done in the interest, and intended to further

   some purpose, of the person who ratifies the act.” Williams, 463 F. Supp. at 1287 (quotation

   omitted).

                  iii.    The Four Statements Which Coomer Specifically Alleges
                          Lindell to Have Made as a MyPillow Agent Are Not Defamatory

          Where Coomer specifically alleges Lindell acted as an agent of MyPillow, he fails to

   identify any defamatory statement made in the scope of that agency. Coomer alleges Lindell acted

   as an agent of MyPillow during: a July 2, 2021 interview on OAN where Lindell claimed to have

   “packet captures” (ECF #170, ¶ 73); an April 8, 2022 interview on Eric Metaxas’s radio show

   where Lindell accurately stated he was served with process in this case (Id. ¶ 108); a July 13, 2022

   interview on the Conservative Daily podcast where Lindell promoted his “Moment of Truth

   Summit” (Id. ¶ 117); and a March 10, 2023 interview on Frankspeech where Lindell decried

   having lost money while defending Coomer’s spurious lawsuit and hemorrhaging sales from lost

   Newsmax appearance. (Id. ¶ 128).

          Coomer does not specifically identify any of these statements as defamatory, because none

   are. These statements either: 1) do not concern Coomer; 2) are Mr. Lindell’s opinions; or 3) are

   true. They cannot give rise to defamation liability under an agency theory. After more than a year

   of discovery, Coomer cannot meet his burden of establishing that any defamatory statements were

   made by a person within the scope of their agency for MyPillow, and therefore the claims against



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   MyPillow should be dismissed. See Bowden v. Mattaway, No. 21CV30007, 2021 Colo. Dist.

   LEXIS 1217, at *2 (Dist. Ct. Colo. Nov. 15, 2021) (citing Restatement (Third) of Agency, § 1.02

   cmt. d (“The party asserting the existence of an agency relationship has the burden of establishing

   its existence.”)).

           D.      No Defendant Acted with Actual Malice

           The First Amendment severely restricts potential state law liability for speech about

   matters of public concern. Under the landmark case of New York Times v. Sullivan, a speaker

   cannot be held liable under state tort law for speech unless the plaintiff can demonstrate, by clear

   and convincing evidence, “actual malice,” defined as knowing a statement was false when it was

   made or having had “reckless disregard” for its truth. N.Y. Times v. Sullivan, 376 U.S. 254, 279–

   80 (1964); see also Hustler Magazine, Inc. v. Falwell, 485 U.S. 46, 56 (1988) (extending actual

   malice standard to intentional infliction of emotional distress claims). Because the alleged

   defamatory statements relate to a matter of public concern, namely election security, the “actual

   malice” standard applies to Coomer’s claims. Brokers’ Choice, 861 F.3d at 1109.6

           Colorado law similarly restricts civil liability for speech-based claims. Article 2, section

   10 of the Colorado Constitution provides:

           No law shall be passed impairing the freedom of speech; every person shall be free
           to speak, write or publish whatever he will on any subject, being responsible for all
           abuse of that liberty; and in all suits and prosecutions for libel the truth thereof may
           be given in evidence, and the jury, under the direction of the court, shall determine
           the law and the fact.


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    In its Order on Defendants’ Motion to Dismiss, the Court noted that the “actual malice” standard
   applies to Coomer’s claims because the alleged defamatory statements relate to a matter of public
   concern. (ECF #119 at 8–10). The actual malice standard would also apply to Coomer’s claims
   because he was a “limited-purpose public figure,” a person who “voluntarily injects himself or is
   drawn into a particular public controversy and thereby becomes a public figure for a limited range
   of issues.” Schwartz v. Am. Coll. of Emergency Physicians, 215 F.3d 1140, 1145 (10th Cir. 2000)
   (quotation omitted). Coomer does not dispute he was a public figure on or before February 4th,
   2021. (Ex. 1 at 218:1–219:4 (referencing Ex. 6)).


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          Accordingly, a plaintiff cannot recover for either defamation or intentional infliction of

   emotional distress unless he or she can show actual malice.

          Coomer will not be able to present clear and convincing evidence of actual malice in this

   case. Therefore, even if he were able to show the statements were themselves defamatory, which

   he cannot, he would still be barred from recovering against Defendants.

                  i.      Defendants Did Not Know Any Statement Was False

          Where the “actual malice” standard applies, a plaintiff can only avoid summary judgment

   by presenting affirmative evidence of the defendant’s mental state; it is not enough to contend that

   the jury might not believe him. Liberty Lobby, Inc., 477 U.S. at 256–57 (1986). “This is true even

   where the evidence is likely to be within the possession of the defendant, as long as the plaintiff

   has had a full opportunity to conduct discovery.” Id. at 257. Because “[a]ctual malice is a subjective

   inquiry” and not based on what a “reasonably prudent” person would do, summary judgment is

   appropriate where a plaintiff “fails to offer any evidence concerning defendant’s subjective state

   of mind.” Revell v. Hoffman, 309 F.3d 1228, 1233 (10th Cir. 2002) (citing Harte-Hanks Commc’ns

   v. Connaughton, 491 U.S. 657, 688 (1989); Liberty Lobby, 477 U.S. at 256).

          Coomer lacks evidence Lindell doubted what he said was true at any point in time, much

   less when he made the complained-of statements. Coomer admitted as much at his deposition:

          Q: Do you have any facts that Mr. Lindell doesn’t believe what he has said about
          Dominion or about you?

          A: Not that I can — not that I can recall.

   (Ex. 1 at 60:11–14.)

          Defendants understand that millions of reasonable, well-meaning, and patriotic citizens

   disagree with Lindell’s outspoken views on electronic voting systems. However, widespread

   disagreement is not material to the question of actual malice, which requires proof of Defendants’



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   state of mind. Lindell believed his statements were true when he said them, and he believes them

   to be true now. Coomer admits that he lacks any evidence to the contrary, let alone the “clear and

   convincing evidence” he needs to survive summary judgment. See Yiamouyiannis v. Consumers

   Union of U.S., Inc., 619 F.2d 932, 937 (2d Cir. 1985) (affirming summary judgment under New

   York Times actual malice test where “no serious showing was made that either the author or the

   editor of the article had the slightest doubt” as to the statement’s accuracy).

                   ii.    Defendants Made No Statement with Reckless Disregard for the
                          Truth

           “Reckless disregard as to the falsity of a statement that a defendant honestly believed to be

   true is determined by a subjective inquiry as to the defendant’s belief and an objective inquiry as

   to the inherent improbability of or obvious doubt created by the facts.” Rowe v. DPI Specialty

   Foods, Inc., 727 Fed. Appx. 488, 498 (10th Cir. 2018) (quotation omitted). Coomer cannot

   establish recklessness under either element of the standard.

                          a. Defendants did not subjectively entertain doubts.

           The seminal case on recklessness under the “actual malice” standard remains St. Amant v.

   Thompson, 390 U.S. 727 (1968). See Diversified Mgmt., 653 P.2d at 1109–10 (expressly adopting

   St. Amant articulation of recklessness for in a Colorado defamation action involving matters of

   public or general concern without regarding to the plaintiff’s identity). To establish recklessness

   for the purposes of actual malice, a defamation plaintiff must present “sufficient evidence to permit

   the conclusion that the defendant in fact entertained serious doubts as to the truth of his

   publication.” St. Amant, 390 U.S. at 731. The St. Amant Court recognized that its ruling would

   permit some wrongdoers to evade liability, but reasoned that First Amendment considerations

   override this risk:

                  It may be said that such a test puts a premium on ignorance, encourages the
           irresponsible publisher not to inquire, and permits the issue to be determined by the


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          defendant’s testimony that he published the statement in good faith and unaware of
          its probable falsity. Concededly the reckless disregard standard may permit
          recovery in fewer situations than would a rule that publishers must satisfy the
          standard of the reasonable man or the prudent publisher. But New York Times and
          succeeding cases have emphasized that the stake of the people in public business
          and the conduct of public officials is so great that neither the defense of truth nor
          the standard of ordinary care would protect against self-censorship and thus
          adequately implement First Amendment policies.

   Id. at 731–32.

          The Supreme Court’s recent decision in Counterman v. Colorado, 143 S. Ct. 2106 (2023),

   reaffirmed its view of “recklessness” under the actual malice test as a subjective mental state. In

   reversing a criminal conviction under Colorado law, the Supreme Court extended the New York

   Times actual malice test to the “true threats” context. Id. at 2112–13, 2119. The Court reasoned

   that applying an actual malice standard that requires at least recklessness comports “with the

   analysis in our defamation decisions” and offers “enough ‘breathing space’ for protected speech,

   without sacrificing too many of the benefits of enforcing the laws against true threats.” Id. at 2119

   (quoting Elonis v. United States, 575 U.S. 723, 748 (2015)).

          In so holding, the Court explained that assessing “recklessness,” a subjective mental state,

   requires getting into the subjective mindset of the actor. See id. at 2113. “A person acts

   recklessly . . . when he consciously disregards a substantial and unjustifiable risk that the conduct

   will cause harm to another. That standard involves insufficient concern with risk, rather than

   awareness of impending harm.” Id. at 2117 (quotations and citations omitted). For liability to

   attach, the defendant must have made “a “deliberate decision to endanger another.” Id. (emphasis

   added) (quoting Voisine v. United States, 579 U.S. 686, 694 (2016)).

          Under this standard, Coomer must present evidence sufficient for a reasonable jury to

   conclude, by clear and convincing evidence, that the Defendants had serious doubts about what

   they said and had consciousness of a substantial and unjustifiable risk that their statements would



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   inflict a wrong upon another, but made a deliberate decision to say the statements anyway. Coomer

   admittedly cannot do this with respect to Lindell. (Ex. 1 at 60:1–14).

          In the Order Denying Motion to Dismiss, the Court considered whether Frankspeech could

   be liable for the May 3, 2021 Oltmann interview by evaluating actual malice from Oltmann’s

   perspective, instead of Frankspeech’s perspective. (ECF #119 at 22–24). At the summary judgment

   stage, the question is not whether Oltmann made a false statement with actual malice; it is whether

   the Defendants demonstrated actual malice in publishing the statement. Miles v. Nat’l Enquirer,

   38 F. Supp. 2d 1226, 1228. (At summary judgment, a plaintiff “must adduce clear and convincing

   proof of actual malice to sustain a cause of action for defamation. To meet this burden, Plaintiff

   must produce ‘sufficient evidence to permit the conclusion that the defendant in fact entertained

   serious doubts as to the truth of his publication.’”) (quoting St. Amant, 390 U.S. at 731) (emphasis

   added). See also Harte-Hanks, 491 U.S. at 688 (1989).

          Colorado has specifically adopted the St. Amant recklessness standard in reporting on

   matters of public concern. Diversified Mgmt. v. Denver Post, 653 P.2d 1103, 1109–10 (Colo.

   1982). Because this is a “subjective” standard, “there must be sufficient evidence to permit the

   conclusion that the defendant actually had a ‘high degree of awareness of probable falsity.’” Id.

   (quoting Garrison v. Louisiana, 379 U.S. 64, 74 (1964)). A “failure to investigate before

   publishing, even when a reasonably prudent person would have done so, is not sufficient to

   establish reckless disregard. In a case . . . involving the reporting of a third party’s allegations,

   ‘recklessness may be found where there are obvious reasons to doubt the veracity of the informant

   or the accuracy of his reports.’” Id. (quoting St. Amant, 390 U.S. at 732). “Reckless conduct is not

   measured by whether a reasonably prudent man would have published, or would have investigated

   before publishing. There must be sufficient evidence to permit the conclusion that the defendant




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   in fact entertained serious doubts as to the truth of his publication. Publishing with such doubts

   shows reckless disregard for truth or falsity and demonstrates actual malice.” St. Amant, 390 U.S.

   at 731.

             No record evidence shows that any Defendant had prior knowledge of what Oltmann would

   say during his May 3, 2021 interview. (Ex. 14 at 50:20–54:4, 68:16–20, 131:18–22; Ex. 11 at

   307:17–308:8; Ex. 15 at 120:18–121:22). Nor did Defendants know what Oltmann or Clements

   would say at the Cyber Symposium. Originally, Lindell envisioned being the only speaker

   Symposium, with periodic interviews between Brannon Howse and audience members. (Ex. 11 at

   309:22–25, 313:2–14). Others, including Janet Lynn, ultimately revised the program’s agenda and

   selected the symposium’s speakers. (Id. at 310:2–22). Lindell was not even present while Oltmann

   and Clements discussed Coomer at various points throughout the event; he was being interviewed

   by CNN and other media outlets while they spoke. (Id. at 316:17–25, 327:23–328:11). No facts

   suggest that any Defendant would have—or even could have—entertained the requisite doubts

   about any statement Lindell, Oltmann, or Clements made about Coomer.

                           b. Accusations against        Coomer     are     not   “inherently
                              improbable.”

             Actual malice may also be demonstrated through a showing that the publisher's statements

   “are so inherently improbable that only a reckless man would have put them in circulation” or if

   there are “obvious reasons to doubt the veracity of the informant or the accuracy of his reports.”

   Talley v. Time, Inc., 923 F.3d 878, 896–97 (10th Cir. 2019) (quoting St. Amant, 390 U.S. 1t 732);

   see also Fink v. Combined Commc’ns Corp., 679 P.2d 1108, 1111 (Colo. Ct. App. 1984)

   (“Although a complete failure to investigate sources of corroboration of published statements may

   be evidence of actual malice, where an adequate investigation is conducted it is unnecessary that

   the truth of each and every statement be supported by the evidence.”).



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          To be clear, Defendants themselves have made no “inherently improbable” claims about

   Coomer. It is undisputed that Lindell never mentioned Coomer nor was he even aware of Coomer’s

   existence until Lindell learned of Coomer’s settlement with Newsmax. It is undisputed that Lindell

   has never accused Coomer of election fraud. There is no dispute that Lindell has no knowledge of,

   never entertained theories about, and never made any claims regarding Coomer’s role in ballot

   adjudication. But even if these facts were disputed, and even if the Defendants relied on or

   amplified Oltmann’s claims, Coomer’s defamation action against Lindell, Frankspeech, and

   MyPillow, still could not survive summary judgment. This is because accusations that Coomer

   somehow meddled in the election, even if proven false, are not sufficiently “inherently

   improbable” to establish actual malice.

          Coomer was the Director of Product Strategy and Security for Dominion Voting Systems,

   a company which provided election related services to at least 30 different states during the 2020

   presidential election. (ECF #170, ¶¶ 2, 17). The very existence of the position reflected the

   recognition that there were security threats to voting machines; Coomer’s job duties included

   ensuring Dominion’s products “were developed with robust security elements that matched both

   the needs of certification and also the emerging threats as designated under the critical

   infrastructure designation for election infrastructure.” (Ex. 1, 21:1–21). He is listed as the inventor

   on several patents related to voting security, including Dominion’s ballot adjudication and secure

   ballot tracking patents. (Id. at 39:6–23). He previously testified before the U.S. District Court for

   the Northern District of Georgia as an expert on voting machine vulnerabilities. (Id. at 18:4–25).

   While Coomer admitted “the potential for compromise” of Dominion’s operating system and the

   “inherent variability in all electronic systems” both the court and Coomer’s own expert in this case,

   Alex Halderman, took him to task for downplaying the “significant risk of having the votes altered,




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   diluted, or effectively not counted.” See Curling v. Raffensperger, 493 F. Supp. 3d 1264, 1287,

   1290, 1295, 1296, 1307, 1323 (N.D. Ga. 2020); (see also Ex. 1 at 247:6–18).

           Halderman submitted a sworn declaration that “malicious modifications to [Dominion’s]

   software could undermine the integrity of election results in multiple ways, including by changing

   either the barcodes alone or both the barcodes and the human readable text, with the result that the

   election outcomes could be changed without detection.” (Ex. 20, Halderman Decl., Curling v.

   Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga. Sept. 29, 2020), ECF #923-1 (Pl. Dep. Ex. 15),

   ¶ 7.7

           These facts, when viewed alongside Coomer’s alarming social media posts, establish that

   accusations of election interference involving Coomer are not so inherently improbable as to

   establish actual malice.

           Highlights of those posts include:

                 Ah . . . Texas . . . The land of racists, idiots, and misogynists. In 2 hours I’ve
                  heard “what’s wrong wif hav’n a relationship with another pow’rful Kuntry
                  (Russia)?” “I luuuv trump”, “goddamn Wimmen jus’ dun know hor’ ta
                  liss’n”, “ya know darlin’, you’re pretty, wish I didn’t have to tip you, them
                  robots is comin’” #f***you.” (Ex. 3 at 0038);

                 Protest all you want, if HRC [Hillary Rodham Clinton] had a penis . . . you
                  f*** head, chuckle f***’s wouldn’t have boo to say. I’d respect you more
                  (still less) if you’d admit the obvious. Happy voting. A pox upon us all in
                  these self inflicted end times. The world didn’t need a magical non-existent
                  being, just an ignorant populace and a suitable demagogue to bring the
                  apocalypse (Id. at 0052);

                 Orange narcissist racist xenophobic clown [referring to President Trump]
                  (Id. at 0042);

                 How the f*** do I have actual relatives/family that gladly donned the
                  “brown shirt”? (Id. at 0043);


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    Coomer, for his part, characterized Halderman’s testimony as “egregiously” and “completely
   wrongly” comparing a “de minimis” software change “to the entire automatic air control system
   of the Boeing 737 Max aircraft.” (Ex. 1 at 238:22–239:24).

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                  Referring to President Trump as “vile,” “craven,” and a “sociopath,” and
                   writing that under his administration the “trains are coming.” (Id. at 0067);

                  Just f***ing vote! And if you voted for a fascist — friend, family, or foe —
                   f***ing un-trump me. I’ve got no truck for racists.” (Id. at 0001)

   (See also Ex. 1 at 156:11–158:10). Coomer’s self-described Facebook “rant” lent further credence

   to the belief he interfered:

           rant/

           Facebook friend land – open call . . .

           If you are planning to vote for that autocratic, narcissistic, fascist, a**hat blowhard
           and his christian jihadist VP UNFRIEND ME NOW! No, I’m not joking. . . . Only
           an absolute F***ING IDIOT could ever vote for that wind-bag f***-tard FASCIST
           RACIST F***! No bulls***, I don’t give a damn if you’re friend, family, or random
           acquaintance, pull the lever, mark an oval, touch a screen for that carnival
           barker . . . UNFRIEND ME NOW. I have no desire whatsoever to ever interact with
           you. You are beyond hope, beyond reason. You are controlled by fear, reaction,
           and bulls***. Get your s*** together.

           Oh, if that doesn’t persuade you, F*** YOU! Seriously, this f***ing a**-clown
           stands against everything that makes this country awesome! You want in on that?
           You deserve nothing but contempt.

           #untrumpme

           ....

   (Ex. 3 at 0072–73).

           If that were not enough, Coomer posted what he himself called in his deposition the “Antifa

   Manifesto,” complete with a list of demands. (Id. at 009–12). This document: repeatedly refers to

   President Trump as a “fascist”; states “either you are a decent human being with a conscience, or

   you are a fascist”; states “people like you are easily manipulated in your banal, self-serving

   ignorance”; demands that the president “resign now and take your VP and cabinet with you”; and

   states “you, sir, and yours, are the terrorists, and your victims are done putting up with it.” Oltmann

   repeatedly claimed he personally witnessed the Antifa call, and has offered sworn testimony to




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   that effect. (ECF #170, ¶¶ 33, 55–57; Ex. 14, pp. 303:7–304:7). Amid this backdrop, claims related

   to the Antifa call—even if proven false—are not “inherently improbable” for actual malice on the

   part of any Defendant in this case.

   II. COOMER’S INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS CLAIM
       SHOULD BE DISMISSED

           In Colorado, the required elements of a claim for intentional infliction of emotional distress

   are: “(1) the defendant engaged in extreme and outrageous conduct; (2) the defendant engaged in

   such conduct recklessly or with the intent of causing the plaintiff severe emotional distress; and

   (3) the defendant's conduct caused the plaintiff to suffer severe emotional distress.” English v.

   Griffith, 99 P.3d 90, 93 (Colo. App. 2004) (citing Culpepper v. Pearl St. Bldg., Inc., 877 P.2d 877,

   882 (Colo. 1994)); see also Coors Brewing Co. v. Floyd, 978 P.2d 663, 665 (Colo. 1999)

   (describing this tort as “intentional infliction of emotional distress by outrageous conduct.”).

           Defendants’ statements are constitutionally protected speech and immune from tort

   liability. Defendants also did not act recklessly, as discussed above in the context of an absence of

   “actual malice.” Defendants certainly did not act with intent to cause Coomer “severe emotional

   distress,” as Lindell has made it abundantly clear that he and MyPillow “do not know who

   Coomer” is. Moreover, “[t]he level of outrageousness required for conduct to create liability for

   intentional infliction of emotional distress is extremely high.” McCarty v. Kaiser-Hill Co., 15 P.3d

   1122, 1126 (Colo. App. 2000). Even the statements that Coomer was a “traitor,” a “criminal,” or

   “treasonous” do not clear that bar, as “[m]ere insults” are insufficient. Pearson v. Kancilia, 70 P.3d

   594, 597 (Colo. App. 2003); see also Grandchamp v. United Air Lines, Inc., 854 F.2d 381, 383

   (10th Cir. 1988) (noting a “defendant's conduct must be more than unreasonable, unkind or

   unfair.”).




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           Chronologically, the undisputed facts show that Coomer sought psychiatric treatment from

   December 9, 2020 through August 31, 2021, but never mentioned Lindell, My Pillow, or the Cyber

   Symposium during his treatment. Moreover, the earliest statement that Coomer attributes to any

   Defendant in this action was made on May 9, 2021, while numerous other individuals, many of

   whom Coomer has sued in other actions, made many statements about Coomer starting in early

   November 2020. These facts show that if Coomer did experience severe emotional distress at some

   point in late 2020 or 2021, the cause of his distress is not traceable to any act of the Defendants in

   this action.

           Coomer therefore cannot make a prima facie showing of the necessary elements at trial,

   and summary judgment against his claim for intentional infliction of emotional distress is

   necessary.

   III. COOMER’S CIVIL CONSPIRACY CLAIM SHOULD BE DISMISSED

           To survive a motion for summary judgment, a Colorado claim for civil conspiracy must

   establish a triable issue as to five elements: “There must be: (1) two or more persons, and for this

   purpose a corporation is a person; (2) an object to be accomplished; (3) a meeting of the minds on

   the object or course of action; (4) one or more unlawful overt acts; and (5) damages as the

   proximate result thereof.” Jet Courier Serv., Inc. v. Mulei, 771 P.2d 486, 502 (Colo. 1989) (en

   banc) (quoting More v. Johnson, 568 P.2d 437, 439–40 (1977)). Coomer cannot establish a

   “meeting of the minds” — in other words, an agreement — among two or more defendants on a

   course of action relating to Coomer, and Coomer cannot show one or more “unlawful overt acts.”

   Because he cannot demonstrate triable factual disputes as to these elements, summary judgment

   should be entered against him and in favor of MyPillow on his conspiracy claim.

           As a general matter, the law of conspiracy “requires collusion between ‘two persons or

   entities to have a conspiracy. A corporation cannot conspire with itself any more than a private


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   individual can, and it is the general rule that the acts of the agent are the acts of the

   [principal].’” Dildine v. Saxon, 2016 Colo. Dist. LEXIS 1947, No. 2014CV34753, at *12, (quoting

   Nelson Radio & Supply Co. v. Motorola, Inc., 200 F.2d 911, 914 (5th Cir. 1952)). Yet the

   conspiracy alleged here is predicated on the “agreement” of one human being with himself: Mr.

   Lindell, in his personal capacity; Mr. Lindell, in his capacity as CEO of MyPillow, the pillow

   company; and Mr. Lindell, in his capacity as CEO of Frankspeech, the media company. Mr. Lindell

   first learned who Coomer was after Coomer settled with Newsmax. When Coomer sued MyPillow,

   Lindell admittedly castigated Coomer in several different podcasts and in other media spots. In

   each instance, and as discussed above, Lindell spoke in his personal capacity. Beyond the

   impossibility of a single human conspiring with himself, Coomer can present no evidence of an

   agreement between Lindell, MyPillow, and Frankspeech relating to Coomer specifically.

          Summary judgment is also appropriate on Coomer’s conspiracy claim because he cannot

   present evidence of an “overt unlawful act.” Jet Courier Serv., 771 P.2d at 502. Defendants’

   statements and conduct that Coomer alleges to be unlawful enjoy full First Amendment protection.

   Even if they did not, Coomer can establish no damages resulting from Defendants’ conduct, as

   described above. Defendants are entitled to summary judgment on his conspiracy claim.

   IV. COOMER IS NOT ENTITLED TO A PERMANENT INJUNCTION

          Coomer “seeks permanent injunctive relief to remove all Defendants’ defamatory

   statements upon final adjudication of the claims at issue.” ECF #170, ¶ 161. Defendants made no

   defamatory statements. Summary judgment against this claim is also in order.

   V. COOMER IS NOT ENTITLED TO EXEMPLARY DAMAGES

          Coomer seeks exemplary damages, (ECF #170, ¶¶ 162–74), alleging that “Defendants

   personally targeted Dr. Coomer in retaliation for his settlement with Newsmax.” (Id. ¶ 164).

   “Exemplary damages are available in Colorado only pursuant to statute. And, whether there is


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   sufficient evidence to justify the submission of that issue to the fact-finder is a question of law.”

   Amber Props., Ltd. v. Howard Elec. & Mech. Co., 775 P.2d 43, 46–47 (Colo. Ct. App. 1988)

   (citations omitted). Coomer does not have evidence to justify such submission here.

           Colo. Rev. Stat. § 13-21-102(a) provides that a jury may award exemplary damages to a

   personal injury plaintiff against a defendant up to the amount of actual damages awarded against

   that defendant if “the injury complained of is attended by circumstances of fraud, malice, or willful

   and wanton conduct.” Section 102(b) defines “willful and wanton conduct” as “conduct

   purposefully committed which the actor must have realized as dangerous, done heedlessly and

   recklessly, without regard to consequences, or of the rights and safety of others, particularly the

   plaintiff.”

           Exemplary damages may be awarded only if “the party asserting the claim proves beyond

   a reasonable doubt the [defendant’s] commission of a wrong under the circumstances set forth in

   section 13-21-102.” Colo. Rev. Stat. § 13-25-127(2). Therefore, on a motion for summary

   judgment, the Court must determine “[i]f the evidence, viewed in a light most favorable to the

   injured party, is such that a jury could find, beyond a reasonable doubt, that the injury-causing

   tortious conduct was attended by circumstances of fraud or malice or [willful and wanton

   conduct].” Id. (construing predecessor of § 13-21-102, as noted in Cook v. Rockwell Int’l Corp.,

   564 F. Supp. 1189, 1209 (D. Col. 2008) (“The Colorado Legislature amended Colo. Rev. Stat. §

   13 21 102 . . . to delete ‘or insult, or a wanton and reckless disregard of the injured party’s rights

   and feelings’ from the statute and replace it with the current ‘or willful and wanton conduct.’”)).

            “Malice” as used in Col. Rev. Stat. § 13-21-102 is different from the defamation-law

   concept of malice. Colo. Jury Instr. 22:27 (citing Cantrell v. Forest City Publ’g Co., 419 U.S. 245,

   251–52 (1974)). It may include “vindictiveness and retaliatory motives.” Id. at 5:4 (citing Bonidy




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   v. Vail Valley Ctr. for Aesthetic Dentistry, P.C., 232 P.3d 277 (Colo. App. 2010)). Even if Coomer’s

   defamation claim were to survive this motion, a reasonable jury could not find fraud, malice, or

   willful and wanton conduct beyond a reasonable doubt.

            Coomer’s exemplary damages claim is confused and inconsistent with the facts. At bottom,

   the most glaring problem with the exemplary damages claim is the fact that Lindell’s statements

   were based on a sincere belief in the truth of them, which Coomer himself acknowledges. Coomer

   agrees that Lindell sincerely believes his statements about Coomer and Dominion. (ECF #170,

   ¶ 105; Ex. 1 at 60:11–14). Thus, even if a jury were to find Lindell acted recklessly in accusing

   Coomer of election fraud (though he did not), the jury could not also find he engaged in fraud,

   malice, or willful and wanton conduct beyond a reasonable doubt. Lindell’s conduct was, and

   remains, motivated by his sincere belief. As a matter of law, exemplary damages are not available

   to Coomer in this action.

                                           CONCLUSION
            Defendants seek an order dismissing this action entirely for the reasons discussed above.

   In the alternative, Defendants seek an order dismissing all Defendants, causes of action, and/or

   parts of Plaintiff’s causes of action, consistent with the applicable law and with the undisputed

   facts.




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   DATED: September 8, 2023          PARKER DANIELS KIBORT LLC

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